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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

                                                       )
In re:                                                 )
                                                       )      Chapter 7
WILLIAM D. KWIATEK,                                    )      Case No. 07-11753-MSH
                                                       )
                       Debtor.                         )
                                                       )

                                 CERTIFICATE OF SERVICE

         I, Kathleen R. Cruickshank, hereby certify that on September 9, 2019, I caused a copy of

the (i) Notice of Intended Private Sale and Deadlines for Filing Objections and Counteroffers

and (ii) Order Approving and Establishing Sale Procedures and Approving Termination Fee

Provisions to be served via this Court’s CM/ECF service, electronic mail, and first class mail,

postage prepaid, upon the parties listed on the attached service list.


                                               /s/ Kathleen R. Cruickshank
                                               Kathleen R. Cruickshank (BBO #550675)
                                               Murphy & King, P. C.
                                               One Beacon Street
                                               Boston, MA 02108
                                               Tel: (617) 423-0400
                                               Fax: (617) 423-0498
Dated: September 9, 2019                       kcruickshank@murphyking.com




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WILLIAM D. KWIATEK
Case No. 07-11753-MSH
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                                                             Internal Revenue Service
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Special Procedures Function Stop 20800
                                                             PO Box 9112
P.O. Box 9112, JFK Building
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Boston, MA 02203
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Bankruptcy Unit                                              Bankruptcy Unit
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